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 8                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 9

10

11    DAVID DENNIS, individually and on
      behalf of all others similarly situated,
12
                            Plaintiff,
13                                                        Case No. ___________________
                 v.
14
      AMERIGROUP CORPORATION, a                           CLASS ACTION COMPLAINT
15    Delaware corporation,

16                          Defendant.                    JURY DEMAND

17

18               Plaintiff, David Dennis, individually and on behalf of all other persons similarly situated,

19   by his undersigned attorneys, for his Class Action Complaint against Defendant, Amerigroup
20
     Corporation (“Amerigroup” or “Defendant”), alleges the following based upon personal
21
     knowledge as to himself and his own action, and, as to all other matters, respectfully alleges,
22
     upon information and belief and investigation of his counsel, as follows:
23

24

25
26

                                                                     LIEFF CABRASER HEIMANN & BERNSTEIN, LLP
     CLASS ACTION COMPLAINT                                                     275 Battery Street, 29th Floor
     CASE NO._________________                                         San Francisco, CA 94111-3339 ~ (415) 956-1000

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 1                                            INTRODUCTION
 2
                 1.    This case involves violations by Amerigroup of the Telephone Consumer
 3
     Protection Act, 47 U.S.C. § 227 et seq., and the Federal Communications Commission (“FCC”
 4
     or “Commission”) rules promulgated thereunder, 47 C.F.R. § 64.1200 (hereinafter referred to as
 5

 6   the “TCPA”).

 7               2.    Amerigroup is a health insurance and managed health care provider, and a wholly

 8   owned subsidiary of Anthem, Inc.
 9               3.    Amerigroup provides insurance coverage for millions of seniors, people with
10
     disabilities, low-income families, other state and federally sponsored beneficiaries, and federal
11
     employees, making it the nation’s largest provider of health care for public programs. Defendant
12
     Amerigroup operates in Washington, Nevada, Texas, Kansas, Iowa, Louisiana, Tennessee,
13

14   Georgia, Florida, Maryland, and New Jersey.

15               4.    In an effort to solicit and generate new business and profits, Defendant engaged in

16   a calling campaign making unsolicited phone calls to Plaintiff and Class Members.
17
                 5.    In violation of the TCPA, Defendant used an “artificial or prerecorded voice”
18
     and/or an “automatic telephone dialing system,” without Plaintiff’s and Class Members’ “prior
19
     express written consent” within the meaning of the TCPA.
20
                 6.    The TCPA was enacted to protect consumers from unauthorized and repeated
21

22   calls exactly like those alleged in this Complaint – autodialed telemarketing calls utilizing

23   prerecorded messages, placed without consent, and continued even after attempted requests to
24   stop the calls.
25
                 7.    Defendant’s violations caused Plaintiff and the members of the putative Classes
26

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 1   of consumers (defined below) to experience actual harm, including the aggravation, nuisance,
 2   and invasion of privacy that necessarily accompany the receipt of unsolicited and harassing
 3
     telemarketing calls.
 4
                 8.    In response to Defendant’s unlawful conduct, Plaintiff brings the instant lawsuit
 5
     and seeks an injunction requiring Defendant to cease all unsolicited calls, as well as an award of
 6

 7   actual and statutory damages to the members of the putative Classes, together with costs and

 8   reasonable attorneys’ fees.

 9                                     JURISDICTION AND VENUE
10
                 9.    This matter in controversy exceeds $5,000,000, as each member of the
11
     proposed Classes of thousands is entitled to up to $1,500 in statutory damages for each call
12
     that has violated the TCPA.       Further, Plaintiff alleges a national class, which will include at
13
     least one Class member who is a citizen of a different state from Amerigroup. Accordingly,
14

15   this Court has jurisdiction pursuant to 28 U.S.C. § 1332(d)(2).

16               10.   This Court also has federal question jurisdiction pursuant to 28 U.S.C. § 1331.
17               11.   This Court has personal jurisdiction over Defendant because the conduct at
18
     issue in this case occurred, among other locations, in Washington.
19
                 12.   Venue is proper because a substantial portion of the events complained of
20
     occurred in this District.
21

22                                                 PARTIES

23               13.   Plaintiff David Dennis is, and at all times mentioned herein was, an individual

24   citizen of the State of Washington.
25
26

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 1               14.   Defendant Amerigroup is a Delaware corporation with its principal place of
 2   business in Virginia Beach, Virginia.
 3
                             THE TELEPHONE CONSUMER PROTECTION
 4                               ACT OF 1991 (TCPA), 47 U.S.C. § 227

 5               15.   In 1991, Congress enacted the TCPA in response to a growing number of
 6   consumer complaints regarding certain telemarketing practices.
 7
                 16.   The TCPA regulates, among other things, the use of artificial or prerecorded
 8
     messages and automated telephone equipment, or “autodialers.” Specifically, the plain language
 9
     of section 227(b)(1)(A)(iii) prohibits the use of autodialers or prerecorded messages to make any
10

11   call to a wireless number in the absence of an emergency or the prior express consent of the

12   called party.

13               17.   Through the TCPA, Congress outlawed telemarketing via unsolicited prerecorded
14
     or automated telephone calls to landlines, finding:
15
                       [R]esidential telephone subscribers consider automated or prerecorded
16                     telephone calls, regardless of the content or the initiator of the message,
                       to be a nuisance and an invasion of privacy…
17
                       Banning such automated or prerecorded telephone calls to the home,
18
                       except when the receiving party consents to receiving the call[,] . . . is
19                     the only effective means of protecting telephone consumers from this
                       nuisance and privacy invasion.
20

21               18.   The TCPA accordingly prohibits persons from initiating any telephone call to a
22
     residential telephone line using an artificial or prerecorded voice to deliver a message without the
23
     prior express consent of the called party, unless the call is initiated for emergency purposes or is
24
     exempted by rule or order of the FCC. 47 U.S.C. § 227(b)(1)(B); see also 47 C.F.R.
25
26   § 64.1200(a)(2).

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 1               19.   As the FCC has explained, Congress prohibited prerecorded and automated
 2   telephone calls because it considered such calls to be costly, inconvenient, and a greater nuisance
 3
     and invasion of privacy than live solicitation calls. The FCC also recognized that wireless
 4
     customers are charged for incoming calls whether they pay in advance or after the minutes are
 5
     used.1
 6

 7               20.   The FCC has defined prior express written consent in 47 C.F.R. § 64.1200(f)(8)

 8   as “an agreement, in writing, bearing the signature of the person called that clearly authorizes the

 9   seller to deliver or cause to be delivered to the person called advertisements or telemarketing
10
     messages using an automatic telephone dialing system or an artificial or prerecorded voice, and
11
     the telephone number to which the signatory authorizes such advertisements or telemarketing
12
     messages to be delivered.”
13
                 21.   Under the TCPA, the burden is on the caller – here, Amerigroup – to have
14

15   obtained and documented prior express written consent before calls were made. The FCC has

16   explained that its “rules generally establish that the party on whose behalf a solicitation is made
17   bears ultimate responsibility for any violations.” See FCC Declaratory Ruling, Memorandum and
18
     Order, 10 FCC Rcd. 12391, 12397 at ¶ 13 (1995).
19
                 22.   The TCPA defines an “automatic telephone dialing system” (an “ATDS”) as
20
     “equipment which has the capacity—(A) to store or produce telephone numbers to be called,
21

22   using a random or sequential number generator; and (B) to dial such numbers.”2

23

24
     1
25     In re Rules and Regulations Implementing the Tel. Consumer Prot. Act of 1991, 18 FCC Rcd 14,014
     (2003) (“2003 FCC Declaratory Ruling”).
     2
26     47 U.S.C. § 227(b)(1)(A)(iii).

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 1               23.   This statutory language dictates that “the term ‘automatic telephone dialing
 2   system’ means equipment which has the capacity—(1) to store numbers to be called or (2) to
 3
     produce numbers to be called, using a random or sequential number generator—and to dial such
 4
     numbers automatically (even if the system must be turned on or triggered by a person).” Marks
 5
     v. Crunch San Diego, LLC, 904 F.3d 1041, 1053 (9th Cir. 2018) (emphasis supplied).3
 6

 7               24.   The 2003 FCC order defined a predictive dialer as “an automated dialing system

 8   that uses a complex set of algorithms to automatically dial consumers’ telephone numbers in a

 9   manner that ‘predicts’ the time when a consumer will answer the phone and a telemarketer will
10
     be available to take the call.”4 The FCC concluded that “[t]he basic function of such equipment .
11
     . . [is] the capacity to dial numbers without human intervention.”5 A 2008 Declaratory Ruling
12
     “affirm[ed] that a predictive dialer constitutes an automatic telephone dialing system and is
13
     subject to the TCPA’s restrictions on the use of autodialers.”6 And in yet another order issued in
14

15   2012, the FCC again reiterated that the TCPA’s definition of an ATDS “covers any equipment

16   that has the specified capacity to generate numbers and dial them without human intervention
17   regardless of whether the numbers called are randomly or sequentially generated or come from
18

19

20
     3
       In the past, the FCC has held that this definition is satisfied when a dialing system has the capacity to
21   call “a given set of numbers” or when “dialing equipment is paired with . . . a database of numbers.”
     2003 FCC Declaratory Ruling, 18 FCC Rcd. 14,014, 14,092 at ¶ 133 ; see also In re Rules & Regulations
22   Implementing the Tel. Consumer Prot. Act of 1991, 23 F.C.C. Rcd. 559, 566 (F.C.C. 2008) (“2008 FCC
     Declaratory Ruling”) (rejecting argument that a dialing system “meets the definition of autodialer only
23   when it randomly or sequentially generates telephone numbers, not when it dials numbers from customer
     telephone lists” and reasoning that “the teleservices industry had progressed to the point where dialing
24   lists of numbers was far more cost effective”).
     4
       Id. at 14,143 n.31.
25   5
       Id. at 14,092.
     6
26     2008 FCC Declaratory Ruling, 23 FCC Rcd. 559.

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 1   calling lists.”7 In 2018, a decision struck down portions of a 2015 FCC Order, but “the prior FCC
 2   Orders are still binding.”8
 3
                 25.   Courts have also held that, based on the TCPA’s statutory language, a predictive
 4
     dialing system constitutes an ATDS under the TCPA. See, e.g., Marks, 904 F.3d at 1051
 5
     (“Although Congress focused on regulating the use of equipment that dialed blocks of sequential
 6

 7   or randomly generated numbers—a common technology at that time—language in the statute

 8   indicates that equipment that made automatic calls from lists of recipients was also covered by

 9   the TCPA.”) (emphasis supplied); accord Soppet v. Enhanced Recovery Co., LLC, 679 F.3d 637,
10
     638-39 (7th Cir. 2012).
11
                 26.   Further, courts have long held that that a “called party” under the TCPA is the
12
     recipient of the call, not the party the caller was intending to reach.9
13
                                         FACTUAL ALLEGATIONS
14

15               27.   Plaintiff is, and at all times mentioned herein was, a “person” as defined by 47

16   U.S.C. § 153(39).
17               28.   Beginning in or around December 2018, Plaintiff began receiving numerous
18
     autodialed telemarketing calls, which contained prerecorded messages, on his cellular phone
19
     ((XXX) XXX-7604) from Defendant. When Plaintiff did not pick up the phone, Defendant
20
     left a prerecorded message informing Plaintiff that he should call Defendant back. From
21

22   what Plaintiff could gather from the prerecorded message, Defendant was requesting Plaintiff

23   7
       In re Rules & Regulations Implementing the Tel. Consumer Prot. Act of 1991, 27 FCC Rcd. 15,391,
     15,399 (2012).
24   8
       Reyes v. BCA Fin. Servs., Inc., Case No. 16-24077-CIV, 2018 WL 2220417, at *11 (S.D. Fla. May 14,
25   2018).
     9
       See, e.g., Osorio v. State FAssetCare Bank, F.S.B., 746 F.3d 1242, 1251 (11th Cir. 2014); Soppet v.
26   Enhanced Recovery Co., LLC,, 679 F.3d 637, 638-39 (7th Cir. 2012).

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 1   to call him back for purposes of filling out an insurance application in order to buy insurance
 2   through Defendant. Defendant’s prerecorded message further offered to provide Plaintiff
 3
     with a free first aid kit if he called Defendant back at 844-662-8160.
 4
                 29.   Plaintiff knew these messages were prerecorded because he heard a robotic
 5
     sounding voice when he answered the calls and a live person did not respond when he asked
 6

 7   to be removed from Defendant’s telemarketing list.

 8               30.    There were at least two numbers that appeared in Plaintiff’s caller ID for

 9   these calls: 978-933-8057 and 267-954-2699. Defendant called Plaintiff on at least the
10
     following dates and times from the aforementioned numbers: December 13, 2018 at 7:43
11
     P.M.; January 8, 2019 at 7:52 P.M.; January 11, 2019 at 12:17 P.M.; and January 14, 2019 at
12
     1:33 P.M.
13
                 31.   These numbers appear to be associated with Defendant. For example, when
14

15   these numbers are called, the call is answered with a prerecorded message, which

16   acknowledges the company being called is Amerigroup. In addition, an Internet search of
17   the aforementioned numbers reveals they are associated with Defendant.10
18
                 32.   Similarly, the “844” number referenced in the prerecorded message appears to
19
     be associated with Defendant. When number is called, that call too is answered with a
20
     prerecorded message, which acknowledges the company being called is Amerigroup.
21

22               33.   Amerigroup is, and at all times mentioned herein was a “person”, as defined

23   by 47 U.S.C. § 153(39).

24

25
     10
       See https://www.callercenter.com/978-933-8057.html; see also https://numpi.com/phone-
26   info/2679542699/.

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 1               34.   In receiving unwanted and unsolicited telemarketing calls on his cellular
 2   telephone, Plaintiff suffered concrete harm in the form of lost time spent fielding the
 3
     unwanted calls and attempting to get Defendant to stop the calls, loss of use of his cellular
 4
     telephone as the calls came in, and the invasion of privacy and intrusion upon his seclusion.
 5
                 35.   All telephone contact made by Defendant utilized a prerecorded message, as
 6

 7   defined by 47 U.S.C. § 227(a)(1).

 8               36.   All telephone contact made by Defendant to Plaintiff on his cellular telephone

 9   occurred via a predictive dialer. The indicia that Defendant used a predictive dialer include
10
     the large volume of calls, the long pause and clicking noise before one of Defendant’s
11
     prerecorded message started playing, and the continued calls even after Plaintiff instructed
12
     Defendant to stop calling. These factors indicate that Defendant used an autodialer that
13
     automatically called Plaintiff from a stored list of numbers.
14

15               37.   Plaintiff’s telephone number called by Defendant was assigned to a cellular

16   telephone service as specified in 47 U.S.C. § 227(b)(1)(A)(iii).
17               38.   Plaintiff did not provide his “prior express written consent” allowing
18
     Defendant to place telemarketing calls to Plaintiff’s cellular phone utilizing prerecorded
19
     messages and an “automatic dialing system” within the meaning of the TCPA. Indeed,
20
     Plaintiff was never a customer of Amerigroup, nor had he ever had any prior dealings with
21

22   Amerigroup whatsoever before Amerigroup began calling him.

23               39.   Plaintiff tried to request that the calls stop on every occasion but Defendant’s

24   prerecorded messages would not allow him to do so. Defendant continues to call Plaintiff’s
25   cellular phone.
26

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 1               40.    The telephone calls made to Plaintiff’s cellular phone by Defendant were not
 2   “for emergency purposes” as described in 47 U.S.C. § 227(b)(1)(A).
 3
                 41.    The telephone calls to Plaintiff’s cellular phone made by Defendant, which
 4
     utilized prerecorded messages and an “automatic telephone dialing system” for non-
 5
     emergency purposes and in the absence of Plaintiff’s prior express written consent, violated
 6

 7   the TCPA.

 8               42.    Under the TCPA, the burden is on Defendant to demonstrate that Plaintiff

 9   provided it with prior express written consent within the meaning of the statute.
10
                                       CLASS ACTION ALLEGATIONS
11
                 43.    Plaintiff brings this action on behalf of himself and on behalf of all other persons
12
     similarly situated.
13
                 44.    Plaintiff proposes the following Class definitions, subject to amendment as
14

15   appropriate:

16   Class I: Prerecorded Message Class
17               All persons in the United States who received a call from Amerigroup advertising
                 its goods or services that played any artificial or prerecorded voice on or after
18
                 March 5, 2015 through the date of class certification who did not provide
19               Amerigroup with prior express written consent to receive such calls.

20   Class II: Autodialer Class
21               All persons in the United States who received a call from Amerigroup to a cellular
22               telephone advertising its goods or services using an automated telephone dialing
                 system on or after March 5, 2015 through the date of class certification who did
23               not provide Amerigroup with prior express written consent to receive such calls.

24   Collectively, all these persons will be referred to as “Class members.” Plaintiff represents, and is
25   a member of, the Classes. Excluded from the Classes are Defendant and any entities in which
26

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 1   Defendant has a controlling interest, Defendant’s agents and employees, any Judge to whom this
 2   action is assigned and any member of such Judge’s staff and immediate family, and claims for
 3
     personal injury, wrongful death and/or emotional distress.
 4
                 45.   Plaintiff does not know the exact number of Class members, but on information
 5
     and belief, the number of Class members at minimum is in the thousands.
 6

 7               46.   Plaintiff and all Class members have been harmed by the acts of Defendant,

 8   including, but not limited to, the invasion of their privacy, annoyance, waste of time, depletion of

 9   their cellular phone battery, and the intrusion on their cellular telephone that occupied it from
10
     receiving legitimate communications.
11
                 47.   This Class Action Complaint seeks injunctive relief and money damages.
12
                 48.   The joinder of all Class members is impracticable due to the size and relatively
13
     modest value of each individual claim. The disposition of claims in a class action will provide
14

15   substantial benefit to the parties and the judicial economy of the Court in avoiding a multiplicity

16   of identical suits. Class members can be identified easily through records maintained by
17   Defendant.
18
                 49.   There are well defined, nearly identical, questions of law and fact affecting all
19
     Class members. The questions of law and fact involving the Class claims predominate over
20
     questions which may affect individual Class members. Those common questions of law and fact
21

22   include, but are not limited to, the following:

23               a.    Whether non-emergency calls made to Plaintiff’s and Class members’ telephones

24                     used an automatic telephone dialing system and/or an artificial or prerecorded
25                     voice;
26

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 1               b.    Whether such calls were made by Defendant;
 2               c.    Whether such calls were made for telemarketing purposes;
 3
                 d.    Whether Defendant can meet its burden of showing it obtained prior express
 4
                       written consent (i.e., consent that is clearly and unmistakably stated) to make such
 5
                       calls;
 6

 7               e.    Whether Defendant’s conduct was knowing and/or willful;

 8               f.    Whether Defendant is liable for damages, and the amount of such damages; and

 9               g.    Whether Defendant should be enjoined from engaging in such conduct in the
10
                       future.
11
                 51.   As a person who received numerous and repeated telephone calls using
12
     prerecorded messages and an automatic telephone dialing system, without his prior express
13
     written consent within the meaning of the TCPA and Rules, Plaintiff asserts claims that are
14

15   typical of each Class member. Plaintiff will fairly and adequately represent and protect the

16   interests of the Classes, and has no interests which are antagonistic to any Class member.
17               52.   Plaintiff has retained counsel experienced in handling class action claims
18
     involving violations of federal and state consumer protection statutes, including claims under the
19
     TCPA.
20
                 53.   A class action is the superior method for the fair and efficient adjudication of this
21

22   controversy. Class-wide relief is essential to compel Defendant to comply with the TCPA. The

23   interest of Class members in individually controlling the prosecution of separate claims against

24   Defendant is small because the statutory damages in an individual action for the violation of the
25   TCPA are small. Management of these claims is likely to present significantly fewer difficulties
26

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 1   than are presented in many class claims because the calls at issue are all automated and
 2   prerecorded and the Class members did not provide prior express written consent, as required
 3
     under the statute, to authorize such calls to their cellular telephones.
 4
                 54.   Defendant has acted on grounds applicable to the Classes, thereby making final
 5
     injunctive relief and corresponding declaratory relief with respect to the Classes as a whole
 6

 7   appropriate. Moreover, on information and belief, Plaintiff alleges that the TCPA violations

 8   complained of herein are substantially likely to continue in the future if an injunction is not

 9   entered.
10
                                            CAUSES OF ACTION
11
                                                FIRST COUNT
12
       KNOWING AND/OR WILLFUL VIOLATIONS OF THE TELEPHONE CONSUMER
13                     PROTECTION ACT, 47 U.S.C. § 227
14
                 55.   Plaintiff incorporates by reference the foregoing paragraphs of this Complaint as
15
     if fully stated herein.
16
                 56.   The foregoing acts and omissions of Defendant constitute numerous and multiple
17
     knowing and/or willful violations of the TCPA, including but not limited to each of the above
18

19   cited provisions of 47 U.S.C. § 227.

20               57.   As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. § 227,
21   Plaintiff and each Class member are entitled to treble damages of up to $1,500 for each and
22
     every violation of the statute, pursuant to 47 U.S.C. § 227(b)(3).
23
                 58.   Plaintiff and all Class members are also entitled to and do seek injunctive relief
24
     prohibiting such conduct violating the TCPA by Defendant in the future. Plaintiff and members
25
26   are also entitled to an award of attorneys’ fees and costs.

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 1                                              SECOND COUNT
 2                     STATUTORY VIOLATIONS OF THE TELEPHONE CONSUMER
 3                               PROTECTION ACT, 47 U.S.C. § 227

 4               59.    Plaintiff incorporates by reference the foregoing paragraphs of this Complaint as

 5   if fully set forth herein.
 6               60.    The foregoing acts and omissions of Defendant constitute numerous and multiple
 7
     violations of the TCPA, including but not limited to each of the above-cited provisions of 47
 8
     U.S.C. § 227.
 9
                 61.    As a result of Defendant’s violations of 47 U.S.C. § 227, Plaintiff and Class
10

11   members are entitled to an award of $500 in statutory damages for each and every violation of

12   the statute, pursuant to 47 U.S.C. § 227(b)(3)(B).

13               62.    Plaintiff and Class members are also entitled to and do seek injunctive relief
14
     prohibiting Defendant’s violation of the TCPA in the future.
15
                                             PRAYER FOR RELIEF
16
                 WHEREFORE, Plaintiff respectfully requests that the Court grant Plaintiff and all Class
17
     members the following relief against Defendant:
18

19               A.     Injunctive relief prohibiting such violations of the TCPA by Defendant in the

20   future;
21               B.     As a result of Defendant’s willful and/or knowing violations of 47 U.S.C.
22
     § 227(b)(1), Plaintiff seeks for himself and each Class and Subclass member treble damages, as
23
     provided by statute, of up to $1,500 for each and every violation of the TCPA;
24

25
26

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                                                                     San Francisco, CA 94111-3339 ~ (415) 956-1000
     1697604.4
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 1               C.   As a result of Defendant’s violations of 47 U.S.C. § 227(b)(1), Plaintiff seeks for
 2   himself and each Class member $500 in statutory damages for each and every violation of the
 3
     TCPA;
 4
                 D.   An award of attorneys’ fees and costs to counsel for Plaintiff and the Classes;
 5
                 E.   An order certifying this action to be a proper class action pursuant to Federal Rule
 6

 7   of Civil Procedure 23, establishing appropriate Classes and any Subclass(es) the Court deems

 8   appropriate, finding that Plaintiff is a proper representative of the Classes and any Subclass(es),

 9   and appointing the lawyers and law firms representing Plaintiff as counsel for the Classes and
10
     any Subclass(es);
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                 F.   Such other relief as the Court deems just and proper.
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     CLASS ACTION COMPLAINT                                      LIEFF CABRASER HEIMANN & BERNSTEIN, LLP
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 1   Dated: March 5, 2019                     Respectfully submitted,

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                                                    Counsel for Plaintiff and the Proposed
23                                                  Class

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     CLASS ACTION COMPLAINT                            LIEFF CABRASER HEIMANN & BERNSTEIN, LLP
     CASE NO._________________
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